 1    SCOTT B. COHEN, SBA #014377
     PATRICK A. CLISHAM, SBA #023154
 2      ENGELMAN BERGER, P.C.
      2800 NORTH CENTRAL AVENUE, SUITE 1200
 3            PHOENIX, ARIZONA 85004
                   _____________
                  Ph: (602) 271-9090
 4               Fax: (602) 222-4999
               Email: sbc@eblawyers.com
 5             Email: pac@eblawyers.com
                   _____________

 6       Counsel for Reorganized Debtor

 7                                IN THE UNITED STATES BANKRUPTCY COURT
 8                                       FOR THE DISTRICT OF ARIZONA
 9    In re:                                                 Chapter 11 Proceeding
10
      CONTINENTAL COUNTRY CLUB,                              Case No. 3:21-bk-00956-EPB
11    INC., an Arizona Non-profit corporation,
12
      EIN XX-XXXXXXX
13
                              Reorganized Debtor.
14

15                              NOTICE OF EFFECTIVE DATE OF
                     DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
16
               Continental Country Club, Inc., an Arizona non-profit corporation, the above-captioned
17
     reorganized debtor (“Reorganized Debtor”), by and through undersigned counsel, hereby
18
     provides notice, pursuant to its confirmed Debtor’s Second Amended Plan of Reorganization
19
     dated January 31, 2023 [DE 418] (“Plan”) and the Amended Order Confirming Debtor’s
20
     Second Amended Plan of Reorganization entered by the Court on March 6, 2023 [DE 437]
21
     (“Confirmation Order”), that the Reorganized Debtor has designated March 17, 2023 as the
22
     Effective Date (as defined in the Plan) for implementation of the Plan. Accordingly, the Plan
23
     is effective as of March 17, 2023, in all respects.
24
               Any parties wishing to receive notice of post-Effective Date bankruptcy matters and
25
     reporting must request such pursuant to the terms of the Plan. Further inquiries and requests for
26
     copies of the Plan or the Confirmation Order should be directed to counsel for the Reorganized
27
     Debtor at:


     {0006302.0001/01440709.DOCX / }
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                                        Main Document    Page 1 of 3
                                                           1                                                Cindy K. Solomon, CP
                                                                                                         ENGELMAN BERGER, P.C.
                                                           2
                                                                                                        2800 N. Central Avenue, #1200
                                                           3                                                  Phoenix, AZ 85004
                                                                                                             Phone: 602-222.4978
                                                           4                                              Email: cks@eblawyers.com

                                                           5             DATED this 15th day of March, 2023.
                                                           6                                              ENGELMAN BERGER, P.C.
                                                           7                                              By:   /s/ Scott B. Cohen
                                                                                                             Scott B. Cohen
                                                           8                                                 Patrick A. Clisham
                                                                                                             2800 North Central Avenue, Suite 1200
                                                           9                                                 Phoenix, Arizona 85004
                                                                                                             Attorneys for Reorganized Debtor
                                                          10
                  2800 North Central Avenue, Suite 1200




                                                          11
ENGELMAN BERGER, P.C.




                                                          12   COPY of the foregoing transmitted
                         Phoenix, Arizona 85004




                                                               via the Court’s ECF system, and
                                                          13   as indicated this 15th day of March,
                                                               2023, to the following parties:
                                                          14
                                                                Larry L. Watson                                        Alissa Brice Castaneda
                                                          15    OFFICE OF THE U.S. TRUSTEE                             DORSEY & WHITNEY LLP
                                                                Email: Larry.Watson@usdoj.gov                          Email: castaneda.alissa@dorsey.com
                                                          16                                                           Attorneys for Sunwest Bank
                                                          17    Robert J. Berens                                       Matthew Silverman
                                                                SMTD LAW LLP                                           ARIZONA ATTORNEY GENERAL
                                                          18    Email: rberens@smtdlaw.com                             Email: Matthew.silverman@azag.gov
                                                                Interested Party                                       Attorneys for Arizona Dept. of Revenue
                                                          19
                                                                Jon S. Musial                                          Randy Nussbaum
                                                          20    LAW OFFICE OF JON S. MUSIAL                            SACKS TIERNEY P.A.
                                                                Email: jon.musial@musiallawoffice.com                  Email: randy.nussbaum@sackstierney.com
                                                          21    Attorneys for Amy Jo Marshall, Interested              Attorneys for Flagstaff Golf Association dba
                                                                Party                                                  Aspen Valley Golf
                                                          22
                                                                Warren J. Stapleton                                    Beth Mulcahy
                                                          23    OSBORN MALEDON, PA                                     MULCAHY LAW FIRM, P.C.
                                                                Email: wstapleton@omlaw.com                            Email: bmulcahy@mulcahylawfirm.com
                                                          24    Attorneys for Lakeside Legionnaires                    Attorneys for Creditor
                                                          25    Valerie Smith                                          Bradley J. Stevens
                                                                SYNCHRONY BANK                                         JENNINGS, STROUSS & SALMON, P.L.C.
                                                          26    Email: Claims_RMSC@PRAGroup.com                        Email: bstevens@jsslaw.com
                                                                                                                       Attorneys for Brickhouse Trust
                                                          27



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                                                           1    Jason J. Bliss
                                                                ASPEY, WATKINS, & DIESEL PLLC
                                                           2    Email: JBliss@awdlaw.com
                                                                Co-Counsel for Lakeside Legionnaires in
                                                           3    Case No. CV 87-042997
                                                           4   A copy of the foregoing document will be posted on Debtor’s court-approved web portal for
                                                               the benefit of all property owners who have not otherwise opted out of this form of service.
                                                           5
                                                               By: /s/ Alyssa C. Moomaw
                                                           6          Alyssa C. Moomaw
                                                                      Paralegal
                                                           7

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                                                           9
                                                          10
                  2800 North Central Avenue, Suite 1200




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ENGELMAN BERGER, P.C.




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                         Phoenix, Arizona 85004




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